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                Electronic Articles of Organization                                 L17000246198
                                                                                    FILED 8:00 AM
                             For                                                    December 01, 2017
                Florida Limited Liability Company                                   Sec. Of State
                                                                                    jareyes
                                 Article I
The name of the Limited Liability Company is:
    ABSOLUTE MEDICAL SYSTEMS, LLC.
                    I




                                 Article II
The street address of the principal office of the Limited Liability Company is:
    8901 LEE VISTA BLVD.
    #3003
    ORLANDO, FL. 32829

The mailing address of the Limited Liability Company is:
    8901 LEE VISTA BLVD.
    #3003
    ORLANDO, FL. 32829

                                  Article III
The name and Florida street address of the registered agent is:
    GREGORY SOUFLERIS
    8901 LEE VISTA BLVD.
    #3003
    ORLANDO, FL. 32829

Having been named as registered agent and to accept service of process for the above stated limited
liability company at the place designated in this certificate, I hereby accept the appointment as registered
agent and agree to act in this capacity. I further agree to comply with the provisions of all statutes
relating to 1he proper and complete perf01mance of my duties, and I am familiar with and accept the
obligations of my position as registered agent.
Registered Agent Signature: GREGORY SOUFLERIS
                                  Article IV
The effective date for this Limited Liability Company shall be:
     11/30/2017
Signature of member or an authorized representative
Electronic Signature: GREGORY SOUFLERIS
I am the member or authorized representative submitting these Articles of Organization and affirm that the
facts stated herein are trne. I am aware that false information submitted in a document to the Department
of State constitutes a third degree felony as provided for in s.817.155, F.S. I understand the requirement to
file an annual report between January 1st and May 1st in the calendar year following formation of the LLC
and every year thereafter to maintain "active" status.


                                                                                                    EXHIBIT
                                                                                              J
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2018 FLORIDA LIMITED LIABILITY COMPANY ANNUAL REPORT                                                                                                     FILED
DOCUMENT# L17000246198                                                                                                                                Jan 18, 2018
Entity Name: ABSOLUTE MEDICAL SYSTEMS, LLC.
                                                                                                                                                    Secretary of State
                                                                                                                                                     CC7754887812
Current Principal Place of Business:
8901 LEE VISTA BLVD.
#3003
ORLANDO, FL 32829


Current Mailing Address:
8901 LEE VISTA BLVD.
#3003
ORLANDO, FL 32829

FEI Number: XX-XXXXXXX                                                                                                      Certificate of Status Desired: No
Name and Address of Current Registered Agent:
SOUFLERIS, GREGORY
8901 LEE VISTA BLVD.
#3003
ORLANDO, FL 32829 US

The above named entity submits this statement for the purpose of changing its registered office or registered agent, or both, in the State of Florida.

SIGNATURE:
                         Electronic Signature of Registered Agent                                                                                                                Date

Authorized Person(s) Detail:
Title                 PRESIDENT
Name                  SOUFLERIS, GREGORY
Address               8901 LEE VISTA BLVD.
                      #3003
City-State-Zip:       ORLANDO FL 32829




I hereby certify that the information indicated on this report or supplemental report is true and accurate and that my electronic signature shall have the same legal effect as if made under
oath; that I am a managing member or manager of the limited liability company or the receiver or trustee empowered to execute this report as required by Chapter 605, Florida Statutes; and
that my name appears above, or on an attachment with all other like empowered.

SIGNATURE: GREGORY SOUFLERIS                                                                                           PRESIDENT                                          01/18/2018
                        Electronic Signature of Signing Authorized Person(s) Detail                                                                                             Date
